Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                COLUMBUS OIL & GAS, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 610156                                                   6436 Lakeshore Road
                                  Port Huron, MI 48060                                            Fort Gratiot, MI 48059
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Saint Clair                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                                    Petition for Non-Individuals Filing for Bankruptcy
                                                                                                                         Page 1 of 16                page 1
Debtor    COLUMBUS OIL & GAS, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   COLUMBUS OIL & GAS, LLC                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    COLUMBUS OIL & GAS, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 11, 2019
                                                  MM / DD / YYYY


                             X   /s/ Charles U. Lawrence                                                  Charles U. Lawrence
                                 Signature of authorized representative of debtor                         Printed name

                                 Title     Manager




18. Signature of attorney    X   /s/ David R Heyboer                                                       Date September 11, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David R Heyboer
                                 Printed name

                                 Heyboer Law, PLC
                                 Firm name

                                 3051 Commerce Drive, Ste 1
                                 Fort Gratiot, MI 48059
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     8109829800                    Email address      hflaw@iwarp.net

                                 47975 MI
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         COLUMBUS OIL & GAS, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 11, 2019                      X /s/ Charles U. Lawrence
                                                                       Signature of individual signing on behalf of debtor

                                                                       Charles U. Lawrence
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                           Eastern District of Michigan
 In re      COLUMBUS OIL & GAS, LLC                                                                                                         Case No.
                                                                                                  Debtor(s)                                 Chapter     11


                                                              STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                 PURSUANT TO F.R.BANKR.P. 2016(b)
            The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.          The undersigned is the attorney for the Debtor(s) in this case.
2.          The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
            [ ]     FLAT FEE
             A.      For legal services rendered in contemplation of and in connection with this case,
                     exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
             B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .
             C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
            [X]          RETAINER
             A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 0.00

             B.           The undersigned shall bill against the retainer at an hourly rate of $ 250.00 . [Or attach firm hourly rate schedule.]
                          Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.          $     0.00      of the filing fee has been paid.
4.          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
            that do not apply.]
            A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                         bankruptcy;
            B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
            C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
            D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
            E.           Reaffirmations;
            F.           Redemptions;
            G.           Other:
                         Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                         reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                         522(f)(2)(A) for avoidance of liens on household goods.
5.          By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                     Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
                     actions or any other adversary proceeding.
6.          The source of payments to the undersigned was from:
             A.        XX              Debtor(s)' earnings, wages, compensation for services performed
             B.                        Other (describe, including the identity of payor)
7.          The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
            corporation, any compensation paid or to be paid except as follows:

 Dated:         September 11, 2019                                                                                       /s/ David R Heyboer
                                                                                                                         Attorney for the Debtor(s)
                                                                                                                         David R Heyboer
                                                                                                                         Heyboer Law, PLC
                                                                                                                         3051 Commerce Drive, Ste 1
                                                                                                                         Fort Gratiot, MI 48059
                                                                                                                         8109829800 hflaw@iwarp.net

 Agreed:        /s/ Charles U. Lawrence
                Charles U. Lawrence
                Debtor                                                                                                   Debtor


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                                                                     Eastern District of Michigan
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                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 AMANDA FREEMAN BURR                                                 LLC Member of                                    LLC member of Sputnik
 1615 River Road                                                     Sputnik
 Saint Clair, MI 48079

 BETRUS ENTERPRISES, LLC
 2848 BARDAMAR DRIVE
 Fort Gratiot, MI 48059

 BIGARD AND HUGARD
 5580 VENTURE WAY
 Mount Pleasant, MI 48858

 BRADLEY MCMATH
 5447 SHOREWOOD
 FORT GRATIOT, MI 48059

 BRETTSCHNEIDER LAND INVESTMENT LLC
 8454 LAKESHORE ROAD
 FORT GRATIOT, MI 48059

 C-BYRD LLC
 2699 WHITNEY PLACE
 FORT GRATIOT, MI 48059

 C.P.A. BORTON, LLC
 8236 RYNN ROAD
 AVOCA, MI 48006

 CENTER JUNCTION CORPORATION
 1211 AUTUMN RIDGE
 SAN ANTONIO, TX 78258

 CHARLES J. KNOWLTON REVOCABLE
 TRUST
 2444 STRAWBERRY LANE
 PORT HURON, MI 48060

 COLD CREEK CORPORATION
 1211 AUTUMN RIDGE
 SAN ANTONIO, TX 78258

 D.A.C.K. INVESTMENTS LLC
 19148 CALVIN HILL RD.
 CASSOPOLIS, MI 49031




Sheet 1 of 5 in List of Equity Security Holders
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                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities    Kind of Interest
 business of holder

 DAN AND ANNE FALK
 2965 NORTH RIVER ROAD
 FORT GRATIOT, MI 48059

 DAN AND DONNA GALLAGHER
 3071 NORTH RIVER ROAD
 FORT GRATIOT, MI 48059

 DEAN J. AND LEILANI S. WHITTENBURG
 2370 WATERFALL LANE
 COLUMBUS, OH 43209

 DEAN S. PETITPREN REV LIVING TRUST
 415 LAKESHORE ROAD
 GROSSE POINTE FARMS, MI 48236

 DORIS KUHNS
 1211 AUTUMN RIDGE
 SAN ANTONIO, TX 78258

 FRANKLIN YOUNG
 3170 NORTH RIVER ROAD
 FORT GRATIOT, MI 48059

 GALLAGHER FAMILY TRUST
 5506 DENMARK DRIVE BOX 219
 Bradenton, FL 34207

 GARY BREUHAN
 916 N. RIVERSIDE AVE.
 ST. CLAIR, MI 48079

 GERALD J. KRAMER
 2906 STRAWBERRY LANE
 PORT HURON, MI 48060

 J. PATRICK WARD FAMILY TRUST
 2615 WHITNEY PLACE
 FORT GRATIOT, MI 48059

 JOHN W. WIRTZ
 4216 FAIRWAY DRIVE
 FORT GRATIOT, MI 48059

 KMHK
 1211 AUTUMN RIDGE
 SAN ANTONIO, TX 78258



List of equity security holders consists of 5 total page(s)
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                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities    Kind of Interest
 business of holder

 LINDA KEMPF
 849 RIVERVIEW LANE
 MARYSVILLE, MI 48040

 MELVYN WALLBANK
 2121 BEARD ST.
 PORT HURON, MI 48060

 MICHAEL AND CATHERINE FRUGE
 7978 ALCONA CT.
 THOMPSONVILLE, MI 49683

 MINDI FYNKE
 C/O EHIM 26711 NORTHWESTERN HWY.
 STE. 400
 SOUTHFIELD, MI 48033

 P.A.C.K. INVESTMENTS
 20071 WOODLINE APT. 9
 EDWARDSBURG, MI 49112

 RANDALL F. AND CAROLE L. BURGETT
 541 BARTOW
 ST. SIMONS ISLAND, GA 31522

 ROBERT KEMPF
 849 RIVERVIEW LANE
 MARYSVILLE, MI 48040

 STEVEN SATOVSKY
 4612 WENDRICK
 WEST BLOOMFIELD, MI 48323

 SUSAN AND BOB WHITE
 9706 N. 17TH STREET
 PLAINWELL, MI 49080

 SWEENEY PROERTIES, LLC
 5044 LAKESHORE ROAD
 LAKEPORT, MI 48059

 THEODORE KUHNS III
 1211 AUTUMN RIDGE
 SAN ANTONIO, TX 78258

 THOMAS G. AND CHRISTINE D'LUGE
 6700 LAKESHORE ROAD
 LAKEPORT, MI 48059


List of equity security holders consists of 5 total page(s)
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 THOMAS G. D'LUGE TRUSTEE
 6700 LAKESHORE ROAD
 LAKEPORT, MI 48059

 THOMAS WARD
 2922 CANAL DRIVE
 PORT HURON, MI 48060

 TROM, LLC
 73562 MEMPHIS RIDGE ROAD
 RICHMOND, MI 48062

 WAGNERS INVESTMENTS, LLC
 4747 CASEY DRIVE
 DRYDEN, MI 48428

 WENDY THOMPSON
 4166 GRATIOT AVE.
 Port Huron, MI 48060

 WFIC LLC
 1105 24TH STREET
 Fort Gratiot, MI 48059

 WILLIAM JORDAN III
 152 KEELSON
 Detroit, MI 48215

 WILLIAM ROBBINS
 4830 LAKESHORE ROAD
 Fort Gratiot, MI 48059

 WILLIAM STERN
 4524 STRANDWYCK
 WEST BLOOMFIELD, MI 48322


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 11, 2019                                                     Signature /s/ Charles U. Lawrence
                                                                                            Charles U. Lawrence

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.

List of equity security holders consists of 5 total page(s)
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
 business of holder
                                                                          18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 5 total page(s)
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                                                                     Eastern District of Michigan
 In re      COLUMBUS OIL & GAS, LLC                                                                  Case No.
                                                                                  Debtor(s)          Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 11, 2019                                        /s/ Charles U. Lawrence
                                                                       Charles U. Lawrence/Manager
                                                                       Signer/Title




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                       ADVANTAGE ELECTRIC, LLC
                       PO BOX 5119
                       2238 TRAVERSEFIELD DR.
                       TRAVERSE CITY, MI 49696-5119


                       AT & T
                       PO BOX 8100
                       AURORA, IL 60507-8100


                       BAKER HUGHES
                       PO BOX 301057
                       DALLAS, TX 75303-1057


                       BELL OIL
                       c/o Thomas D'Luge
                       670 Lakeshore Road
                       Fort Gratiot, MI 48059


                       CAPITAL ONE BANK
                       PO BOX 60024
                       CITY OF INDUSTRY, CA 91716-0024


                       CHARLES U. LAWRENCE TRUST
                       6436 Lakeshore Road
                       Fort Gratiot, MI 48059


                       DAKOTAH OIL
                       PO BOX 25
                       ALLEN, MI 49227


                       DTE ENERGY
                       PO BOX 740786
                       CINCINNATI, OH 45274-0786


                       DYCK SECURITY SERVICES
                       2425 MINNIE STREET
                       PORT HURON, MI 48060


                       ESCO
                       1126 KENT STREET
                       ELKHART, IN 46514-1740


                       EXCEL SITE RENTALS
                       1530 ENTERPRISE DRIVE
                       KALKASKA, MI 49646

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                   FIRST BANKCARD
                   PO BOX 2814
                   OMAHA, NE 68103-2814


                   FLINTOFF & KLEIN
                   2149 JOLLY RD
                   SUITE 500
                   OKEMOS, MI 48864


                   FLOWTEK INC.
                   PO BOX 1310
                   KALKASKA, MI 49646


                   FRONTIER
                   PO BOX 2951
                   PHOENIX, AZ 85062-2951


                   GALLAGHER, FLINTOFF & KLEIN, PLC
                   2408 LAKE LANSING ROAD
                   LANSING, MI 48912


                   IPFS CORPORATION
                   24722 NETWORK PLACE
                   CHICAGO, IL 60673-1247


                   J AND H OIL COMPANY
                   PO BOX 9464
                   WYOMING, MI 49509


                   JET SUBSURFACE
                   450 SIDES DRIVE
                   PO BOX 1866
                   GAYLORD, MI 48734


                   KEVIN J. RORAGEN
                   124 West Allegan
                   Suite 700
                   Lansing, MI 48933


                   KINGSLY COMPRESSION
                   3750 SOUTH NOAH DRIVE
                   SAXONBURG, PA 16056




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                   LOOMIS, EWERT, PARSLEY, DAVIS & GOTTING,
                   124 WEST ALLEGAN, SUITE 700
                   LANSING, MI 48933


                   MACALLISTER MACHINE CO. INC.
                   DEPT 78731
                   PO BOX 78000
                   DETROIT, MI 48278-0731


                   MICHIANA RECYCLING & DISPOSAL
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                   940 INDUSTRIAL PARKWAY
                   ELKHART, IN 46516-5599


                   MIDWEST ENERGY COOPERATIVE
                   901 E. STATE STREET
                   PO BOX 127
                   CASSOPOLIS, MI 49031


                   MIKA MEYERS, PLC
                   900 MONROE AVENUE NW
                   GRAND RAPIDS, MI 49503


                   PRAXAIR DISTRIBUTION
                   DEPT CH 10660
                   PALATINE, IL 60055-0660


                   RDC COMPUTER AND NETWORK SERVICES, LLC
                   9307 SCOTTY OAKS
                   HELOTES, TX 78023


                   SARA L. CUNNINGHAM
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                   THE CINCINNATI INSURANCE COMPANY
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